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                      IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

RICHARD L. BYRD,
                                           :
     Plaintiff                             :
                                           :       CIVIL ACTION FILE
     vs                                    :
                                           :       NO. 1:22-cv-01457-SDG-RGV
THE GWINNETT COUNTY                        :
SCHOOL DISTRICT                            :

                    Defendant


          PLAINTIFF'S STATEMENTS OF UNDISPUTED MATERIAL FACTS


          COMES NOW Richard L. Byrd, Plaintiff in the above entitled and captioned

matter, who submits his Statements of Undisputed Material Facts as follows:

1.        Plaintiff worked continuously at the Defendant’s Instructional Support Center

(“ISC”) facilities in Suwanee, Georgia from the time that he became the Facilities

managers until his employment ended on September 3, 2021 (Ex.1 at ¶1).

2         Terry Oliver and Grady Brown served as, respectively, the Head Custodian and

the Assistant Head Custodian for the School District (see the attached Ex.1 at ¶ 4).

3.        The Plaintiff reported to Jorge Gomez, the Executive Director for Administration

and Policy for most of his tenure with the School District, including 2021, while he

served as the Facilities Manager (see the attached Ex.1 at 5).




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4.    Also working at the ISC facilities were other supervisors who served in a similar

role as that of a Director. Among such individuals who were the Plaintiff’s counterparts

during the time of his employment were the following Directors: Steve Jaggears, James

Appleton, Laura Nurse, Glenda Ostrander, Mary Barbee, Matthew Mills, Kevin Kriews,

Ken Yant, Patrice Pendergrast, and and a Director in the Foreign Languages Department

referred to herein as “VJ”(see the attached Exhibit 1 at ¶6 ).

5.    At all times relevant to the issues in these proceedings, he School District’s

Human Resources Department was under the direction of Dr. Monica Batiste, who

served as Associate Superintendent of Human Resources and Talent Management from

2020-2022 (Batiste depo.pp.11-12).

6.    Complaints by employees concerning their performance evaluations are

specifically prohibited from the School District’s internal complaints procedure (Byrd

depo.Ex.5, “Definitions, ‘Complaint’ and “Section 2, Procedures, ‘¶1’”and Batiste

depo., p. 204).

7.    Despite such prohibition, Associate Superintendent Monica Batiste subjected a an

employee who shall be referred to herein as “WD,” an African American Director, to

such an investigation from employees using the District’s internal complaints procedure,

and was forced to change the performance evaluations of her subordinate employees

(Batiste depo. pp.117-119).




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8.      There is no record any Caucasian Director or Manager being subjected to an

investigation regarding his or her issuance of performance evaluations to subordinate

employees while Monica Batiste served as an Associated Director (Batiste depo.pp.118-

119).

9.      When subordinate employees filed a complaint against a Caucasian Director

concerning inappropriate conduct in the workplace, such complaints by employees were

rejected by Associate Superintendent Monica Batiste, and the Caucasian Director was

not subjected to any adverse action, including any diminution of his authority or change

in his working conditions (Batiste depo., pp. 118-119 and see the attached see the

attached Ex.5 at GSD000799-800).

10.     In March/April of 2021, there began to be an issue about how security

employees David Larkins and Aaron Maharaj would be compensated for working

on weekends when necessary to support facilities events which took place at the

ISC Suwanee, Georgia location (see the attached Ex. 2 at ¶ 5).

11.     In May of 2021, Richard Byrd, at the instruction of Jorge Gomez,

communicated to School District staff that it would be appropriate to change the

schedule of security employees, including David Larkins and Aaron Maharaj to work

only 40 hours a week, including two (2) hours on the weekend to avoid requiring these

employees to work uncompensated hours of overtime on the weekend, but have security

in place on weekend to support the School District events (see the attached Ex. 2 at ¶ 5).


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12.   Jorge Gomez, Dr. Monica Batiste, and other School District officials were

aware of the upcoming schedule change announced by Richard Byrd (see the attached

Ex. 2 at ¶ 7).

13.   In June of 2021, the Plaintiff, as was his normal course of action on an annual

basis, issued, or requested to be issued, performance evaluations to subordinate

employees who served under his supervision. Among such employees were four (4)

African American males (Ex. 1 at ¶ 9).

14.   The Plaintiff evaluated each employee based upon the criterion for their annual

“Classified Job Description Assessment”(“Performance Evaluation”) provided for each

respective position, in accordance with his authority to do so (Gomez depo.p.85 and

Batiste depo.p. 80).

15.   For some months prior to such performance evaluations, Plaintiff had attempted to

correct ongoing failures in performance of some of the employees who reported to him

directly(Ex. 1 at ¶ 10, Byrd depo.at pp.90-93, 183, 211 and Batiste depo.Exs. 2 and 7).

16.   Based upon such employees less than full performance in certain categories of

performance, the Plaintiff adjudged on these employees’ performance evaluation that

these areas of performance required improvement (Batiste depo.Ex.2, and Byrd depo.at

pp. 93 and 173, and see the attached Ex. 1 at ¶11).




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17.   Unbeknownst to the Plaintiff, the subordinate employees who he issued

performance evaluations to and indicated area which needed improvement contacted the

School District’s HR department on or around June 15, 2021(Byrd depo.p.94).

On or about June 15, 2021, I was told by Human Resources official, Michelle Burton

that subordinate employees filed complaints against me.

18.   At no point was the Plaintiff ever informed of the specific allegations made

against him by subordinate employees (see the attached Ex.1 at ¶13).

19.   Plaintiff was told that employees Aarron Maharaj, David Larkins, and Terry

Oliver, and Grady Brown filed complaints against him regarding their performance

evaluation, and that he was being investigated for changing the work schedule of

employees to comply with federal Fair Labor Standards Act requirements of either

working 40 hours per week or being compensated for overtime for working more than

40 hours per week (see the attached Ex.1 at ¶14).

20.   Plaintiff was provided no more details regarding any other specifics or any other

allegations (see the attached Ex.1 at ¶15).

21.   The School District did not authorize payment for working more than 40 hours per

week in 2021 for the non-exempt employees who worked under my supervision (see the

attached Ex.1 at ¶16).




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22.   In May of 2021, the School District hired a contracting company called Lacosta to

provide employees to perform janitorial services at the ISC facilities (see the attached

Ex.1 at ¶17).

23.   Shortly, thereafter, in late June of 2021, the Plaintiff was contacted by employees

hired by Lacosta, and such employees reported to the Plaintiff that a female contract

hired employee (identified herein simply a “LM”) was being subjected to unwelcome

conduct of a sexual nature by a subordinate employee/ Supervisor who worked in the

Facilities Department, Grady Brown (Batiste depo., p.37).

24.   Plaintiff received from the School District’s contract hired employee LM and

other contract hired employees the report of inappropriate conduct in the workplace by

this School District Assistant Head Custodian, Grady Brown(Id.). Brown supervised LM

(Brown depo.p.66).

25.   At the end of the workday, Plaintiff received a report from LM’s contract manager

that Grady Brown was engaged in potentially inappropriate conduct of involving her

status as female on or about June 22, 2021 (Batiste depo.Ex.8, p.6 and see the attached

Ex. 1 at ¶19).

26.   School District policy prohibits sexual harassment in the workplace that

substantially interferes with any individual’s work performance, or which creates an

intimidating, hostile, or offensive work environment (Batiste depo.Ex.P-1 at p.25).




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27.   After obtaining additional detailed information from LM’s contract manager

regarding these allegation on June 24, 2021, Plaintiff immediately upon learning of these

reports, assured LM’s contract manager that he would request that the School District’s

HR department address the concerns which had been brought to him (Batiste depo. Exs.

8 and 9, and see the attached Ex. 1 at ¶23).

28.   Immediately thereafter, on June 25, 2021, the Plaintiff reported to his manager,

Jorge Gomez and to the School District’s Human Resources Department representatives

Michelle Burton and Monica Batiste the disturbing allegations of sexual harassment

which were reported to him (Batiste depo.p.140).

29.   Upon learning of the allegations of LM and disturbing details reported to him, the

Plaintiff took immediate action to attempt to ensure that her allegations were addressed

in accordance with School District policy, as well as, in accordance with the law (Byrd

depo.pp.127, 1238-140, 147-148, Gomez depo. p.127, Batiste depo.pp.164-166, and

Batiste depo. Exhibits 8 and 9).

30.   To ensure that LM’s claims of sexual harassment were addressed, Plaintiff took

several actions – beginning with reporting to his direct supervisor and Human Resources

what he deemed serious allegations of misconduct and violations of law by his

subordinate employees, most specifically Assistant Head Custodian Grady Brown, on

June 25, 2021 (Byrd depo.p.127, Batiste depo.p.140 and Gomez depo.p.127).

31.   Grady Brown supervised LM (Brown depo.p.66).


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32.    Plaintiff reported to HR Associate Superintendent Michelle Batiste and Michelle

Burton that he would like to HR to properly address LM’s reports of sexual harassment

(Batiste depo.Ex.P-1 at p.20 and Batiste depo.Ex.P-7).

33.    Plaintiff made such request of Michelle Burton and Monica Batiste on June 25,

2021 and advised that he had started to look into these allegations (Batiste depo.pp.140

and 199, Byrd depo.pp.145-146, and Batiste depo. Ex.8, and see the attached Ex. 1 at ¶

25).

34.    School District officials, including Monica Batiste and Michelle Burton,

immediately treated the Plaintiff with hostility in the meeting after he reported LM’s

allegations to him (see the attached Ex. 1 at ¶ 28).

35.    In the days following his report to Jorge Gomez and to the School District’s

Human Resources Department of the allegations of sexual harassment which were

brought to his attention, and following the Plaintiff’s communication to his manager and

to HR representatives of his request that the School District’s HR department follow up

on the allegations of sexual harassment made concerning LM, the School District

refused to dismiss the subordinate employee’s complaints regarding their performance

evaluation, though the employer’s policy requires that that no such complaints may be

the subject of an Internal investigation through its complaint procedure (Byrd depo.Ex.5,

“Definitions, ‘Complaint’ and “Section 2, Procedures, ‘¶1’”).




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36.   A few days following his reporting the allegations of sexual harassment by School

District employees and requesting that the School District address these concerns, the

Plaintiff was advised, on June 29, 2021, by his Manager Jorge Gomez that his actions

have consequences, and on the same date, the School District advised Plaintiff’s

subordinate employee, David Larkins, that the performance evaluation issued to him

(Larkins) by the Plaintiff would be rescinded, along with a performance Memo of

Record Plaintiff issued to him in March of 2021 – though the School District had not

provided the Plaintiff the opportunity to respond to the complaints of Larkins( Batiste

depo.ppp. 132-133, Batiste depo.Ex 14, Byrd depo.p.79, Gomez depo. pp.48-49, Byrd

depo.pp.179-181and 201, and see the attached Ex.1 at ¶ 28a).

37.   The Defendant School District, acting through Associate Superintendent Monica

Batiste and her direct report Michelle Burton, advised the Plaintiff on July 1, 2021 that

his authority to issue a performance evaluation to David Larkins, and a memo which he

had issued to him months earlier in March of 2021, was being rescinded (Byrd depo.pp.

201-202 , Batiste depo.Ex.14, and see the attached Ex.1 at ¶ 28a.).

38.   In the weeks after he first reported to his manager and to the School District’s HR

department the allegations of sexual harassment made by LM, the Plaintiff became

aware that the Contracting Company had continuing concerns about the Head Custodian

and Associate Head Custodian’s inappropriate interactions with LM, and Plaintiff




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expressed such concerns to the School District, including his manager and Assoc. Supt.

Batiste (Batiste depo.Ex.9 and Byrd depo.p.135 and 137-139).

39.   Soon after the Plaintiff received the initial report of possible inappropriate

behavior involving LM and Grady Brown and Brown, a Lacosta contract management

representative and LM met with the Plaintiff to discuss LM’s concerns (see the

attached Exhibit 2 at nos.8-10 and Batiste depo. Exhibits 3 and 8).

40.   During her meeting with the Plaintiff, LM was visibly shaken (see the attached

Exhibit 2 at nos. 8-10).

41.   In the meeting with the Plaintiff, LM reported that School District Asst. Head

Custodian/supervisor, Grady Brown, attempted to block her from leaving a room, stated

to LM how much he liked her, and that he followed her and was touching her as she

attempted to leave out of a room, (Byrd depo. pp. 132-134, see the attached Ex. 2 at ¶11

and Batiste depo.ex. 8 ).

42.   As of July 12, 2021, the School District was also advised that LM reported that,

among other alarming acts, Grady Brown smacked his lips at her when she was alone

with him in the workplace, that he told her “you would be good for me,” that he tries to

get her away from everyone, and that he searches for her (Byrd depo.pp. 127-128,

Batiste depo.pp.164-166, and Batiste depo.Exhibits 3 and 8).

43.   On or about July 9, 2021, having still received no response from his Manager or

HR as to what, if anything was being done to follow the law and School District policies


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and procedures to protect LM from further potential harassment by Grady Brown and

Terry Oliver, the Plaintiff consented to Lacosta’s request to separate LM from as much

communication and contact with Brown and Oliver as possible, while not singling out

LM as an employee who made sexual harassment allegations, by directing that Grady

Brown and Terry Oliver communicate all School District requests and directives through

the onsite Lacosta Manager, James Leach (Batiste depo.Ex.9 [p.2]and Gomez

depo.p.187). Such directive was communicated to School District staff on July 8, 2021

(Id.).

44.      Plaintiff, as Facilities Manager, had the authority to make such directives to his

staff and the contracting company (Gomez depo., pp. 80 and 53-154).

45.      On the same date that Plaintiff directed Grady Brown and Terry Oliver not to

communicate directly with Lacosta staff, and to contact such staff through the

contractor’s manager, James Leach, Brown and Oliver disregarded Plaintiff’s directive

and followed LM into a custodian closet (Batiste depo.Ex.9 and Gomez depo. p. 187).

46.      Brown and Oliver’s failure to follow Plaintiff’s directive was reported to him

(Plaintiff), and Plaintiff then requested that both Assistant Superintendent Monica

Batiste and Jorge Gomez review the videotape of Grady Brown and Terry Oliver

continuing to make contact with LM in violation of such directive (Batiste depo.Ex.9

and Byrd depo.pp.140-141).




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46.   The Plaintiff received no response from Jorge Gomez or Monica Batiste as to

what should be done to protect LM from further potential sexual harassment by Grady

Brown and Terry Oliver, and, receiving no response from School District officials as to

how LM could be protected, granted to LM permission to take paid leave from reporting

to work – with Brown and Oliver failing to follow his direction to stay away from her

and School District officials not responding to what he should do (Batiste depo.p. 203

and Byrd depo. pp.134 and 140-14).

47.   As the Plaintiff pushed for assistance to protect LM from the continuing acts of

sexual harassment in the workplace by his subordinate employees, his calls to redress

such acts were received with non-responses and responses that he should not continue to

try to protect LM (see the attached Ex. 9 at pp.4-5, Batiste depo.p.203, Gomez depo., pp.

200-201, and see the attached Ex.1 at ¶¶35 and 60).

48.    Monica Batiste told the Plaintiff that the school district was not responsible for

LM - stating to the Plaintiff “But you gave me a statement, she needed to go back when

she comes to you because she is a LaCosta employee, you need to send her back to

LaCosta.” (see the attached Ex. 9 at pp.4-5).

49.   When Plaintiff told Batiste that he felt he needed to protect the young lady (from

School District’s employees’ sexual harassment of LM), Batiste told the Plaintiff that it

was not his job to protect LM (see the attached Ex. 9 at p.4).




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50.   Monica Batiste told the Plaintiff that he could be issued a Letter of Direction for

taking a statement from LM detailing her allegations of sexual harassment by School

District supervisor Grady Brown (Byrd depo.p.136).

51.   Plaintiff’s manager, Jorge Gomez, and HR Direct or and Superintendent Batiste

ignored Plaintiff’s requests to meet with LM or to give him direction, but in fact told

Plaintiff that the School District does not meet with contract employees(Byrd

depo.pp.134, 194, 213-214, Gomez depo.p.196, and Batiste depo.pp. 173-174).

52.   Plaintiff’s manager, Jorge Gomez, also rescinded Plaintiff’s directive that School

District employees communicate and contact Lacosta hired employees through their on-

site manager on July 29, 2021 (Gomez depo.Ex.18).

53.   The School District’s contractor, Lacosta, found that Assistant Superintendent

Batiste did not respond to Lacosta’s President’s request that the School District take

action to prevent future sexual harassment by Grady Brown and Terry Oliver (Batiste

depo.Ex.6 and see the attached Ex.3 at ¶ 5).

54.   Monica Batiste did not return Lacosta’s President’s phone call asking for help to

stop the sexual harassment of LM (see the attached Ex.3 at ¶ 5 and Batiste depo.at

p.177).

55.   Lacosta turned over the results of its own investigation of the allegations of

harassment of LM by School District employees to Monica Batiste; however, Batiste did

not respond to Lacosta’s continued request that the School District stop the sexual


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harassment of its employees (see the attached Ex.3 at ¶ 4, Batiste depo.p.177, and

Batiste depo.Ex.3 at pp.1-3).

56.   LM then resigned her employment with Lacosta and her assigned work location at

the School District’s facility, and LM’s mother called to complain that her daughter was

not being protected in the workplace (Batiste depo.Ex.6).

57.   Lacosta requested again that the School District remove its supervisors from

supervising LM, and notified the School District that its employees were being subjected

to inappropriate and/or harassing and retaliatory behavior by School District supervisors

(Batiste depo.Ex.6).

58.   School District supervisor Grady Brown testified that he was never investigated

by the School District for inappropriate conduct allegations, that he was never told not to

come in contact with LM, and that he was never directed to change his behavior in the

workplace towards LM, nor was he disciplined by the School District (Brown

depo.pp.79-81).

59.   The School District never attempted to contact LM to interview her (Batiste

depo.p. 148).

60.   No investigation of Grady Brown based upon the allegations of LM ever took

place (Brown depo.pp.79-81and Batiste depo.pp.16-148).

61.   The only attempt to address LM’s allegations of sexual harassment were made by

the Plaintiff - who was then told that he should not have taken a statement from LM,


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that the School District does not talk with contractors, and that it was not his job to

protect LM (see the attached Ex.9 at p. 4).

62.   Plaintiff’s manager, Jorge Gomez, told him that he never wanted to hear him

speak about the School District failing to protect LM again, and that he (Plaintiff) had to

decide to whom he was loyal (See the attached Ex.2 at ¶ 21).

63.   Plaintiff was not provided all the complaints and evidence which set forth the

complaints of subordinate employees who the Defendant’s HR department purportedly

based their investigation of him upon (Batiste depo.pp.132-133).

64.   Plaintiff’s manager also rescinded his directive that communications and

interactions between the School District’s Head Custodian and the Associate Head

Custodian and contract hired employees be made through the contractor’s onsite

manager - which was requested by the Contractor and implemented to protect LM until

her concerns of sexual harassment by School District staff could be addressed (Gomez

depo.pp.220-22, Brown depo.p.81, and see the attached Ex.1 at ¶ 29).

65.   In addition, on or about August 4, 2021, as Plaintiff attempted to protect LM,

Associate Supt. Batiste and his manager took action to remove Plaintiff’s authority over

his subordinate employees without advising him of why such authority was taken from

him (Gomez depo. Ex.18, see the attached Ex.1 at ¶¶37 and 39).

66.   As the Plaintiff continued with his pleas for the School District to protect LM and

to take action to protect other female employees Plaintiff discovered that the previous


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Contracting company (“BMS”) had concerns that the School District’s Head Custodian

(Terry Oliver) had treated females more adversely than males.

67.    During the week of August 8, 2021, Plaintiff informed his supervisor, Jorge

Gomez, that BMS had concerns about the disparate treatment of female contract hired

employees by Terry Oliver, and, within days afterwards, on or about August 24, 2021,

for the first time in his career with the School District, the Plaintiff’s performance was

suddenly determined by Gomez to be less than satisfactory (Batiste depo.Ex.21, Gomez

depo.p.31, and see the attached Ex.1 at ¶46).

68.    Additionally, on August 24, 2021, Plaintiff received a Letter of Direction from

Jorge Gomez directing him to reverse his issued performance evaluations of employees

and to refrain from retaliating against employees – without being advised of how he had

subjected any employee to retaliation (Gomez depo. Exhibit 21 and see the attached

Ex.1 at ¶¶ 47 and 48 and Batiste depo.pp.132-133).

69.    On or about August 8, 2021,when the Plaintiff told Jorge Gomez that he wanted to

discuss reports of other acts of discrimination in the workplace and how to prevent

future sexual discrimination in the workplace by School District staff, Gomez told him

that he did not want to discuss this (Beard Aff.at ¶¶ 26-27 and see the attached Exhibit 1

at ¶ 45).

70.    Plaintiff authorized the issuance of a Letter of Direction to a subordinate

employee,Grady Brown, on or about June 8, 2021 based upon Brown’s failure to adhere


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to required performance standards, and Jorge Gomez reviewed this Grady Brown Letter

of Direction and found no reason to to reverse such Letter of Direction, and testified that

“I don’t think that there’s any dispute about the appropriateness of the letter of

direction.” (Gomez depo.p.97, Gomez depo.Ex.8 at p.3, Gomez depo.Ex.9, and Gomez

depo.Ex. 4).

71.   On August 24, 2021, days after Plaintiff asked Gomez to address the issue brought

to light by the new Contractor regarding Terry Oliver’s possible discrimination against

female employees and Gomez told Plaintiff that he did not want to discuss this, and days

after the Plaintiff reported that he believed the School District failed to protect LM from

sexual harassment in the workplace by its supervisors, Jorge Gomez changed course and

ordered Plaintiff to rescind the Letter of Direction to Grady Brown, and to refrain from

unsubstantiated acts of retaliation against subordinate employees (Batiste depo.pp. 44,

101-102, 206-208, Batiste depo.Ex.21, and see the attached Ex.1 at ¶ ¶47-48).

72.   According to his own testimony, Jorge Gomez was told by the Plaintiff, prior to

June 8, 2021, that he would place in employee David Larkins’ performance evaluation

that it was unacceptable to not follow his (Plaintiff’s) instruction to to obtain items for a

facility employee retirement celebration, and Gomez did not tell Plaintiff that he could

not do so (Gomez depo.pp.48-49 ).

73.   In the days following Plaintiff’s telling Jorge Gomez that he believed that the

School District had failed LM, and Plaintiff telling Jorge Gomez that he wanted to


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address the charges of discrimination made by the previous contractor(BMS), and Jorge

Gomez telling Plaintiff that he (Plaintiff) needed to, respectively, decide who he owed

his loyalty to, and that he did not want to discuss this, on August 24, 2021, Jorge Gomez

suddenly reversed course and issued to Plaintiff a Letter of Direction that the

performance evaluation of Larkins and three (3) other employees would need to be

rescinded (Beard Affidavit at ¶¶ 26 and 27, Gomez depo.Ex.21, and see the attached

Ex.1 at ¶¶43-48).

74.   HR Associate Superintendent Monica Batiste approved Plaintiff’s issuing to

Grady Brown a Letter of Direction prior to it being issued, but Batiste reversed course

and directed that Plaintiff be issued a Letter of Direction rescinding his supervisory

authority once Plaintiff reported LM” s allegations of sexual harassment, insisted on

trying to help protect LM from sexual harassment, took LM’s statement, and Batiste told

him that his job was to send LM back to Lacosta (Byrd depo.p.90, Gomez depo.p.244,

and see attached Ex.9 at p.5).

75.   According to HR Associate Superintendent Monica Batiste, the Plaintiff started an

investigation of LM’s claims of sexual harassment by School District employees who

reported to him, and Batiste did not want Plaintiff to look into such allegations – telling

him (about LM) that “She needed to go back (to Lacosta),” and “Your job is to supervise

and report any misdoings and wrongdoings.”(Batiste depo.p.140 and see the attached

Ex.9 at pp. 4-5).


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76.   The School District’s HR department never disciplined Grady Brown as a result of

LM’s allegations of sexual harassment, and Brown was never questioned about LM’s

allegations (Brown depo.pp.76 and 79-80).

77.   HR Associate Superintendent Batiste concedes that Grady Brown’s performance

issues occurred on previous years and continued into 2021 and that there is nothing

wrong with a supervisor holding an employee accountable for continuing performance

issues in a current year performance evaluation (Batiste depo.pp.112-113).

78.   HR Associate Superintendent Monica Batiste testified that it is not a violation the

School District’s rules or procedures not utilize progressive discipline (Batiste

depo.p.68).

79.   HR Associate Superintendent Monica Batiste approved the finding that there no

retaliation by the Plaintiff regarding any of the four employees’ complaints which the

School District concluded merited Plaintiff being issued a Letter of Direction on August

24, 2021, with the alleged exception of David Larkins (Batiste depo.p.206).

80.   HR Associate Superintendent Monica Batiste testified that David Larkins

participated in no protected activity and that retaliation that the School District considers

impermissible is legal retaliation (Batiste depo. pp. 44 and 206).

81.   HR Associate Superintendent Monica Batiste approved the finding that David

Larkins was the victim of retaliation which merited directing Plaintiff to rescind his




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performance evaluation, though Larkins engaged in no protected activity (Batiste

depo.pp.207-208).

82.   HR Associate Superintendent Monica Batiste testified that employee may not file

a complaint regarding their performance evaluation, but that with regard to the Plaintiff,

such complaints were allowed because employees may challenge whether the correct

process was followed (Batiste depo.p.204); yet, Monica Batiste also testified that the

problem with Plaintiff’s evaluation of the four (4) employees who lodged a complaint

against him was not procedure, but judgment (Batiste depo.p.103).

83.   Faced with the School District’s refusal to address the Plaintiff’s request to redress

the continuing acts of sexual discrimination by employees who reported to him, based

upon the School District’s violation of the law and its own practices and procedures, and

based upon the School District’s rescission of his authority to supervise employees, and

statements to him that he could be punished for taking a statement from LM regarding

her sexual harassment allegations, the Plaintiff was forced to resign his employment

effective September 3, 2021 based upon illegal and intolerable conditions (see the

attached Ex.1 at ¶2).

       Respectfully submitted this 19th day of April, 2023.
                                     J. TAYLOR AND ASSOCIATES, LLC
                                      /s/Jacqueline Taylor
                                      Jacqueline K. Taylor, Georgia Bar No. 700251
                                      1870 The Exchange, Suite 200
                                      Atlanta, Georgia 30339
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               IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

RICHARD L. BYRD,

   Plaintiff                           :
                                       :     CIVIL ACTION FILE
         vs                            :
                                       :     NO. 1:22-cv-01457-SDG-RGV
THE GWINNETT COUNTY                    :
SCHOOL DISTRICT                        :
                                       :
  Defendant


                            CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing

pleading to the Clerk of the Court using the CM/ECF system, which will automatically

send electronic mail notification of such filing to counsel of record who are CM/ECF

participants, and thereby counsel for the Defendant as follows:


                          Elizabeth F. Kinsinger
                  PEREIRA, KIRBY, KINSINGER & NGUYEN, LLP
                            P.O. Drawer 1250
                        Lawrenceville, GA 30046

      Dated this 19th day of April, 2023.


                                /s Jacqueline Taylor__________
                                Jacqueline K. Taylor




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